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                    UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF TEXAS
                           WACO DIVISION

UNITED STATES OF AMERICA              §
                                      §
vs.                                   §      NO: WA:13-M -00817(1)
                                      §
(1) RONALD R. HOLMES                  §


PROCEEDINGS: BENCH TRIAL

                                Exhibit List

                  Government(s)                      Defendant(s)
1.  Dash Cam Video A973, July 5, 2013, 1. Medical Records of the Defendant
    MPR3721-13 (time 2:00-8:30)
2. FTH FM 190-X26, DWI Statutory             2.
    Warning-Refusal, dated July 5, 2013
    signed Carl Shanklin
3. Police Station Video, July 5, 2013,       3.
    MPR 3721-13 (file 4085, time
    2:12-2:30; file 4093, time 0:00 - 12:50;
    file 4065, time 0:00 - 9:00)
4.                                           4.
5.                                           5.
6.                                           6.
7.                                           7.
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